                                                    Case 1-25-41368-jmm                           Doc 17            Filed 04/04/25                   Entered 04/04/25 11:51:13




Avon Place LLC
Case 1-25-41368-jmm
Debtor Proposed Cash Collateral Budget
                                              27-Mar         3-Apr       10-Apr        17-Apr       24-Apr         1-May        8-May       15-May       22-May        29-May        5-Jun        12-Jun       19-Jun       26-Jun         Total


Income:
Rental Income                                   -      156,000.65    78,000.32    26,000.11     13,000.05    156,000.65    78,000.32    26,000.11    13,000.05    156,000.65    78,000.32    26,000.11     13,000.05    13,000.05    832,003.47
Total Income                                    -      156,000.65    78,000.32     26,000.11    13,000.05    156,000.65    78,000.32     26,000.11   13,000.05    156,000.65    78,000.32     26,000.11    13,000.05    13,000.05    832,003.47

Operating Expenses:
Advertising                                 535.71         535.71       535.71       535.71        535.71        535.71       535.71       535.71       535.71        535.71       535.71       535.71        535.71       535.71      7,499.94
All Waste                                   888.14         888.14       888.14       888.14        888.14        888.14       888.14       888.14       888.14        888.14       888.14       888.14        888.14       888.14     12,433.96
Bouras Landscaping                        3,073.00       3,073.00     3,073.00     3,073.00      3,073.00      3,073.00     3,073.00     3,073.00     3,073.00      3,073.00     3,073.00     3,073.00      3,073.00     3,073.00     43,022.00
Bramans Pest                                107.14         107.14       107.14       107.14        107.14        107.14       107.14       107.14       107.14        107.14       107.14       107.14        107.14       107.14
Century Pools                               214.29         214.29       214.29       214.29        214.29        214.29       214.29       214.29       214.29        214.29       214.29       214.29        214.29       214.29      3,000.06
Comcast                                     234.36         234.36       234.36       234.36        234.36        234.36       234.36       234.36       234.36        234.36       234.36       234.36        234.36       234.36      3,281.04
Hamlin Contracting                        1,785.71       1,785.71     1,785.71     1,785.71      1,785.71      1,785.71     1,785.71     1,785.71     1,785.71      1,785.71     1,785.71     1,785.71      1,785.71     1,785.71     24,999.94
Insurance                                 3,402.98       3,402.98     3,402.98     3,402.98      3,402.98      3,402.98     3,402.98     3,402.98     3,402.98      3,402.98     3,402.98     3,402.98      3,402.98     3,402.98     47,641.72
Kings Communication                          42.86          42.86        42.86        42.86         42.86         42.86        42.86        42.86        42.86         42.86        42.86        42.86         42.86        42.86        600.04
Maintenance & Repair                      2,500.00       2,500.00     2,500.00     2,500.00      2,500.00      2,500.00     2,500.00     2,500.00     2,500.00      2,500.00     2,500.00     2,500.00      2,500.00     2,500.00     35,000.00
Property Management Fee (6%)              3,600.00       3,600.00     3,600.00     3,600.00      3,600.00      3,600.00     3,600.00     3,600.00     3,600.00      3,600.00     3,600.00     3,600.00      3,600.00     3,600.00     50,400.00
Orange Cleaning                             602.80         602.80       602.80       602.80        602.80        602.80       602.80       602.80       602.80        602.80       602.80       602.80        602.80       602.80      8,439.20
Otis Elevator                               185.71         185.71       185.71       185.71        185.71        185.71       185.71       185.71       185.71        185.71       185.71       185.71        185.71       185.71      2,599.94
Payroll                                   3,125.00       3,125.00     3,125.00     3,125.00      3,125.00      3,125.00     3,125.00     3,125.00     3,125.00      3,125.00     3,125.00     3,125.00      3,125.00     3,125.00     43,750.00
Bankruptcy Advisory Fees (CRO)                 -        10,000.00          -            -             -       10,000.00          -            -            -       10,000.00          -            -             -      10,000.00     40,000.00
Taxes                                    12,625.00      12,625.00    12,625.00    12,625.00     12,625.00     12,625.00    12,625.00    12,625.00    12,625.00     12,625.00    12,625.00    12,625.00     12,625.00    12,625.00    176,750.00
Utilities (Water/Sewer/Electric/Gas)      8,214.29       8,214.29     8,214.29     8,214.29      8,214.29      8,214.29     8,214.29     8,214.29     8,214.29      8,214.29     8,214.29     8,214.29      8,214.29     8,214.29    115,000.06

Tota Operating Expenses                   41,136.99     51,136.99    41,136.99     41,136.99    41,136.99     51,136.99    41,136.99     41,136.99   41,136.99     51,136.99    41,136.99     41,136.99    41,136.99    51,136.99    614,417.90

Net Operating Income                     (41,136.99)   104,863.66    36,863.33    (15,136.88) (28,136.94)    104,863.66    36,863.33    (15,136.88) (28,136.94)   104,863.66    36,863.33    (15,136.88) (28,136.94) (38,136.94)     217,585.57
